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IN THE UNITED sTATEs DIsTRICT coURr 05"’4);9 @_/»
FoR THE WESTERN DISTRICT oF TENNESSBE/Q_ ay "'

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UNITED STATES OF AMERICA, ) A:Q@i/ 7
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Pianaff, )
)

VS» ) NO. 04-10091-T-An

)
IUSTIN MCCOMIC, )
)
Defendant )

 

ORDER GRANTING MOTION TO BE PERMITTED TO APPEAL AS PAUPER
AND DENYING MOTION TO WITHDRAW

 

On April 22, 2005, Defendant flled an “affldavit in support of request to proceed in
forma pauperis.” However, Defendant did not comply With Rule 24 of the Federal Rules
of Appellate Procedure Which provides that “a party to a district-court action who desires
to appeal in forma pauperis must file a motion in the district court” and must attach an
affidavit showing in detail the information prescribed by Form 4 of the Appendix of Forms
to the Federal Rules of Appellate Procedure as to the individual's ability to pay or give
security for fees and costs; the right to redress; and the issues that the party intends to present
on appeal Consequently, the court ordered Defendant to file a motion in this court Which
meets the requirements of Rule 24 if he intends to proceed on appeal in forma pauperis §e_e
Order 4/29/05.

On May 6, 2005, Defendant filed the requisite information His affidavit states that

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he has no source of income and no assets. The issue he intends to present on appeal is
whether his sentence comports with the requirements set forth in United States ve. Booker.

Because Defendant’s motion complies With the requirements of Fed. R. App. P. 24
and because Defendant has demonstrated through his affidavit that he is indigent,
Defendant’s motion to proceed on appeal informer pauperis is GRANTED.

Defendant’s attorney has moved to be relieved as counsel of record on the ground
that he was retained for the trial only. Sixth Circuit Rule 101 provides that “[t]rial counsel
in criminal cases, whether retained or appointed by the district court, is responsible for the
continued representation of the client on appeal until specifically relieved by this Court.”
A notice of appeal was filed on behalf of Defendant on Apri125, 2005. Thus, Defendant’s
motion should be directed to the Sixth Circuit Court of Appeals.

IT IS SO ORDERED.

CQMM'Qf/M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case l:04-CR-1009l was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

